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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                         v.                       )   Case No. 23-cr-212-RCL
                                                  )
                                                  )
CHRISTINA TRAUGH,                                 )
                                                  )
      Defendant                                   )


               SENTENCING MEMORANDUM OF CHRISTINA TRAUGH

        A 49-year-old nurse, Christina Traugh entered the Capitol on January 6, walked around

the Rotunda for four minutes, and then exited the building. She did not encourage rioters to

enter the Capitol, interfere with law enforcement officers, engage in disorderly conduct, jump

over or pull down barricades, or destroy any property. Traugh pled guilty to

parading/demonstrating in the Capitol Building under 40 U.S.C. § 5104(e)(2)(G). She has no

criminal history and is deeply remorseful for her decision to enter the Capitol without

authorization. Her family’s financial well-being, as well as the geriatric community in her

hometown, depend on the nurse’s continued employment. Traugh respectfully requests that the

Court impose the sentence recommended by the Probation Office—12 months’ probation, a

fine, and restitution.

Factual background

        A.      Traugh’s background, family, employment history, and character

        Traugh, 49, is a registered nurse for a nursing agency in Lemoyne, Pennsylvania.

Although she was raised in a Christian family with strict moral values, Traugh’s father was

physically and psychologically abusive toward her at a young age. Presentence Investigation

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 Report (PSR), ECF 20, ¶ 42. As a result, Traugh’s parents divorced when she was in the second

 grade. Id.

       Traugh’s relationships since that time have not fared much better. Her prior husband was

also physically abusive. PSR, ¶ 45. In 2009, Traugh’s current husband was arrested for assaulting

her, having succumbed to an addition to alcohol and narcotics. Id., ¶ 48.

        Traugh maintains a certification in rehabilitation nursing. PSR, ¶ 58. She is currently

 employed as a registered nurse for Milestone Staffing, which services the geriatric community in

 Lemoyne. Id., ¶ 59. Traugh works seven days a week with the elderly. Her income is essential to

 monthly mortgage payments she and her husband make on their home. Thus, if Traugh were to

 receive a sentence of incarceration (or home detention), it would put at risk the couple’s home, her

 nursing career, and the welfare of the local geriatric community.

        B.      The petty misdemeanor conviction and presentence investigation report

        On July 19, 2023, Traugh pled guilty to one count of parading/demonstrating in the

 Capitol Building under § 5104(e)(2)(G).

        On January 6, Traugh drove from her home in Dillsburg, Pennsylvania, to Maryland,

 where she met with three companions (see below). PSR, ¶ 25. They attended the former

 president’s “Stop the steal” rally. Afterward, the group followed the crowd to the Capitol at

 approximately 3:04 p.m. Id. They entered the building at that time, walked around the

 Rotunda for approximately four minutes, and then exited the Capitol at 3:12 p.m. Id., ¶ 27.

 Pursuant to U.S.S.G. §1B1.9, the Guidelines do not apply to Traugh’s conviction, as it is a

 Class B misdemeanor. PSR, ¶ 34.

 Argument

 I.     Sentencing procedure

        As it knows, the Court has broad discretion to consider nearly every aspect of a particular

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case, and a particular defendant, in fashioning an appropriate sentence. United States v. Booker,

543 U.S. 220 (2005); Gall v. United States, 552 U.S. 38 (2007); Kimbrough v. United States, 552

U.S. 85 (2007). Although the Court must first calculate the appropriate sentencing range under

the Guidelines, it is not bound by the Guidelines or Guidelines Policy Statements. It may make

its own policy judgments, even if different from those in the Guidelines. Kimbrough, 552 U.S. at

101.

       The Court must merely impose a sentence consistent with the terms of 18 U.S.C. §

3553(a) and § 3661. As the Court knows, the cardinal requirement of § 3553(a) is that the “court

shall impose a sentence sufficient, but not greater than necessary to comply with the purposes of

[§ 3553(a)]. . .” § 3553(a). As the Court also knows, it may not impose a “split” sentence on

Traugh’s Class B misdemeanor conviction, i.e., a sentence that includes both prison time and

probation. United States v. Little, 2023 U.S. App. LEXIS 21650 (D.C. Cir. Aug. 18, 2023).

II.    The § 3553(a) factors favor the Probation Office’s recommended sentence

       A.      The nature and circumstances of the offense and the history and
               characteristics of the defendant (§ 3553(a)(1))

       Traugh’s participation in the offense is minimal. She is guilty of a Class B misdemeanor

under § 5104(e)(2)(G) because she demonstrated inside the Capitol. But Traugh did not obstruct

law enforcement, destroy property, go in search of members of Congress, or behave in a

disorderly fashion. After a law enforcement officer directed her to leave the building, she

promptly complied. PSR, ¶ 26.

       The fact that Traugh is a first-time offender is an appropriate reason for imposing a

sentence that does not include incarceration. E.g., United States v. Tomko, 562 F.3d 558, 560 (3d

Cir. 2009) (affirming probationary sentence based partly on defendant’s “negligible criminal

history”);United States v. Huckins, 529 F.3d 1312, 1317 (10th Cir. 2008); United States v.

Munoz-Nava, 524 F.3d 1142, 1143 (10th Cir. 2008). Traugh’s true remorse for her conduct—
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which she will express to the Court in her allocution—is another reason. E.g., United States v.

Howe, 543 Fed. 3d 128, 138 (3d Cir. 2008).

       Above all, this factor favors a sentence of probation given that Traugh’s incarceration

would put at risk the home she shares with her husband (through missed mortgage payments),

her nursing career, and the welfare of the local geriatric community which depends on her care.

       B.      Avoiding unwarranted sentence disparities (§ 3553(a)(6))

       Section 3553(a) requires courts to fashion a sentence in a way that avoids “unwarranted

sentence disparities among defendants with similar records who have been found guilty of

similar conduct.” § 3553(a)(6). Sentencing Traugh to a term of incarceration would create

many unwarranted sentence disparities.

       First, a term of incarceration here would be inconsistent with comparable January 6-

related sentences this Court has imposed on the § 5104(e)(2)(G) charge. In those, the Court has

imposed a term of probation rather than incarceration. E.g., U.S. v. Anna Morgan-Lloyd, 21-cr-

165-RCL; U.S. v. Gary Wickersham, 21-cr-606-RCL; U.S. v.Gary Smith, 21-cr-6-RCL; U.S. v.

Deborah Kuecken, 23-cr-6-RCL; U.S. v. Justin McAuliffe, 21-cr-206-RCL; U.S. v. James

Uptmore, 21-cr-149-RCL; U.S. v. Brennen Machacek, 23-cr-121-RCL. In a number of these

cases, the defendant did not have a family that was financially dependent on him or her, as with

Traugh.

       Second, Traugh’s companions on January 6 were all sentenced to 24 months’ probation

on the same offense. United States v. Clark, et al., 21-cr-218-APM, ECF 99, 101, 103.

Imposing a higher sentence on Traugh would create unwarranted sentence disparities.

       Third, a term of incarceration would create unwarranted disparities between Traugh’s

sentence and sentences imposed on § 5104(e)(2)(G) defendants by other judges in this district.

In most instances, the conduct of these probationary misdemeanants was more disruptive than

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Traugh’s. Department of Justice January 6 Sentencing Chart, dated Aug. 15, 2023, available at:

https://www.justice.gov/file/1593211/download. Here are some examples:

 1/6 Def. & Case No.     Charge                  Sentence                Offense Conduct
 Josh & Jessica          Parading in Capitol     24 mos. probation       Entered Capitol
 Bustle, 21cr238                                 and 24 mos.             Building, remained
                                                 supervised release      for 20 minutes.
                                                                         Posted on Facebook,
                                                                         “Pence is a traitor.
                                                                         We stormed the
                                                                         capital (sic). . . We
                                                                         need a revolution!”
 Bryan Ivey, 21cr267     Parading in Capitol     36 mos. probation       Entered Capitol
                                                                         Building through a
                                                                         breached window,
                                                                         waving additional
                                                                         rioters into the
                                                                         building, spending 30
                                                                         minutes inside.
 Valerie Ehrke,          Parading in Capitol     36 mos. probation       Entered Capitol
 21cr97                                                                  Building.
 Andrew Bennett,         Parading in Capitol     3 mos. home             Entered the Capitol
 21cr227                                         confinement, 24 mos.    Building,
                                                 probation               livestreaming the
                                                                         event on his
                                                                         Facebook page for
                                                                         over an hour.
 Lori, Thomas Vinson,    Parading in Capitol     5 years probation,      Entered the Capitol
 21cr355                                         120 hours of            Building, later telling
                                                 community service       news outlet that her
                                                                         actions were
                                                                         “justified” and that
                                                                         she would “do this all
                                                                         over again.”
 Jordan Stotts,          Parading in Capitol     24 mos. probation       Entered the Capitol
 21cr272                                                                 Building, remained
                                                                         inside for an hour,
                                                                         celebrating with
                                                                         others and taking
                                                                         videos with his cell
                                                                         phone.




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Douglas Sweet,     Parading in the     36 mos. probation   Entered the Capitol
Cindy Fitchett,    Capitol                                 Building, Fitchett
21cr41                                                     filming herself
                                                           saying, “We are
                                                           storming the Capitol.
                                                           We have broken in.”
Rasha Abdual-      Parading in the     36 mos. probation   Entered the Capitol
Ragheb, 21cr42     Capitol                                 Building, desiring to




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                                                                       demonstrate against
                                                                       Congress.
Jonathan Sanders,      Parading in the         36 mos. probation, 60   Entered the Capitol
21cr384                Capitol                 hours community         Building, intending to
                                               service                 protest presidential
                                                                       election
Michael Orangias,      Parading in the         36 mos. probation       Entered the Capitol
21cr265                Capitol                                         Building, taking
                                                                       pictures inside.
John Wilkerson,        Parading in the         36 mos. probation, 60   Entered the Capitol
21cr302                Capitol                 hours of community      Building, posting on
                                               service                 social media, “today
                                                                       was a good day, we
                                                                       got inside the
                                                                       Capitol.”
Brandon Nelson,        Parading in the         24 mos. probation       Entered the Capitol
21cr344                Capitol                                         Building, co-
                                                                       defendant texting,
                                                                       “We stormed the
                                                                       Capitol and shut it
                                                                       down. Currently still
                                                                       inside” and “Patriots
                                                                       won’t go down
                                                                       without a fight.”
Andrew Wrigley,        Parading in the         18 mos. probation       Entered the Capitol
21cr42                 Capitol                                         Building, taking
                                                                       pictures of himself
                                                                       inside
Jacob Hiles, 21cr155   Parading in the         24 mos. probation       Entered the Capitol
                       Capitol                                         Building, taking
                                                                       pictures showing him
                                                                       smoking “an
                                                                       unknown substance”
                                                                       inside.
Bruce Harrison,        Parading in the         24 mos. probation       Entered the Capitol
21cr365                Capitol                                         Building, taking
                                                                       pictures of himself
                                                                       inside.
Terry Brown, 21cr41    Parading in the         36 mos. probation       Entered the Capitol
                       Capitol                                         Building, disobeyed
                                                                       police order to leave.
Felipe Marquez,        Disorderly conduct in   18 mos. probation       Entered the
21cr136                the Capitol                                     “hideaway” office of
                                                                       Senator Merkley,
                                                                       saying, “We only


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                                                                 broke a couple
                                                                 windows.”
Michael Rusyn,          Parading in the   24 mos. probation      Among the first to
21cr303                 Capitol                                  enter the Capitol
                                                                 through a certain
                                                                 door, part of a group
                                                                 of people who
                                                                 shouted, “Tell Pelosi
                                                                 we’re coming for that
                                                                 b****,” called police
                                                                 traitors, and shouted
                                                                 “Stop the steal.”
Andrew Hatley,          Parading in the   36 mos. probation      Entered the Capitol
21cr98                  Capitol                                  Building, taking
                                                                 pictures with various
                                                                 historical statues.
Nicholas Reimler,       Parading in the   36 mos. probation      Entered the Capitol
21cr239                 Capitol                                  Building, taking
                                                                 pictures of himself
                                                                 and friends.
Caleb Jones, 21cr321    Parading in the   2 mos. home            Entered the Capitol
                        Capitol           confinement, 24 mos.   Building, “walking
                                          probation              down numerous
                                                                 hallways and into the
                                                                 Capitol Rotunda.”
Anthony R. Mariotto,    Parading in the   36 mos. probation      Entered the Capitol
21cr94                  Capitol                                  Building, posting on
                                                                 Facebook, “This is
                                                                 our house” under
                                                                 selfie photograph.
Michael Stepakoff,      Parading in the   12 mos. probation      Entered the Capitol
21cr96                  Capitol                                  Building, posting on
                                                                 social media after,
                                                                 “The Capitol is OUR
                                                                 house, not theirs.”
Tanner Sells, 21cr549   Parading in the   24 mos. probation      Entered the Capitol
                        Capitol                                  Building.
Gary Edwards,           Parading in the   12 mos. probation      Entered the Capitol
21cr366                 Capitol                                  Building, including
                                                                 Senate office S140.
Zachary, Kelsey         Parading in the   24 mos. probation      Entered the Capitol
Wilson, 21cr578         Capitol                                  Building, penetrating
                                                                 all the way to the
                                                                 Speaker’s personal
                                                                 office


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 Jennifer Parks, Esther   Parading in the          24 mos. probation        Entered the Capitol
 Schwemmer, 21cr363       Capitol                                           Building, taking
                                                                            pictures inside
 Jackson Kostolsky,       Parading in the          36 mos. probation        Entered the Capitol
 21cr197                  Capitol                                           Building
 Eduardo Gonzalez,        Parading in the          24 mos. probation        Entered the Capitol,
 21cr115                  Capitol                                           smoking marijuana
                                                                            inside “multiple
                                                                            times.”
 Israel Tutrow,           Parading in Capitol      36 mos. probation        Entered the Capitol
 21cr310                                                                    Building with a knife

        In short, sentencing Traugh to a term of incarceration would create dozens or even

hundreds of unwarranted sentence disparities.

       C.      The seriousness of the offense and deterrence (§ 3553(a)(2))

       The Court must consider “the need for the sentence imposed . . . to reflect the seriousness

of the offense” and to “afford adequate deterrence to criminal conduct” and to “protect the public

from further crimes of the defendant.” § 3553(a)(2).

       Traugh is a woman with no criminal history who is convicted of a Class B misdemeanor.

Those biographical facts alone imply she is highly unlikely to recidivate. Recidivism Among

Federal Offenders: A Comprehensive Overview, U.S. Sentencing Commission, Mar. 2016, p. 23,

available at: https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

publications/2016/recidivism_overview.pdf. Prior to January 6, nonviolent demonstrators at the

Capitol who violated relevant law were typically penalized under a process called “post and

forfeit”: they paid to have their demonstration-related case dropped for approximately $25-100.

ACLU, District of Columbia, Demonstrations in D.C., available at:

https://www.acludc.org/en/know-your- rights/know-your-rights-demonstrations-dc. That was

deemed sufficient deterrence. In contrast, Traugh was charged with a crime in federal court. FBI

agents came to her home. A sentence of incarceration—along with a loss of employment and its

destabilizing effect on her family—is not needed to deter Traugh from entering the Capitol again
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without authorization. Together with scathing media criticism and social ostracization, a federal

conviction, sentence of probation, and significant fine will well and truly deter Traugh. The

heavy shame she has experienced is itself a guarantee of deterrence. See, e.g., United States v.

Polizzi, 549 F. Supp. 2d 308, 449 (E.D.N.Y. 2008) (specific deterrence satisfied by “intense

shame created by the convictions); United States v. Maynard, 2020 U.S. Dist. LEXIS 179542, at

*5 (E.D.N.Y. Dec. 17, 2012) (Weinstein, J.) (same).

Conclusion

        For all the foregoing reasons, Traugh respectfully requests a sentence of 12 months’

probation, a fine, and restitution.

Dated: October 13, 2023                      Respectfully submitted,

                                             /s/ Nicholas D. Smith
                                             Nicholas D. Smith (D.C. Bar No. 1029802)
                                             1123 Broadway, Suite 909
                                             New York, NY 10010
                                             Phone: (917) 902-3869
                                             nds@davidbsmithpllc.com


                                             Attorney for Christina Traugh




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                                    Certificate of Service
       I hereby certify that on the 13th day of October, 2023, I filed the foregoing submission

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to the following CM/ECF user(s): Counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                            /s/ Nicholas D. Smith
                                            Nicholas D. Smith (D.C. Bar No. 1029802)
                                            1123 Broadway, Suite 909
                                            New York, NY 10010
                                            Phone: (917) 902-3869
                                            nds@davidbsmithpllc.com


                                            Attorney for Christina Traugh




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